Case 2:22-cr-00231-JCZ-DPC

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DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S.

BY: C] INFORMATION INDICTMENT CASE NO.
Matter Sealed: CJ Juvenile [-] other than Juvenile USA vs.
[] Pre-indictment Plea [_] Superseding  [[] Defendant Added Defendant GEORGE PETERSEN
C) Indictment Cc] Charges/Counts Added ,
Information
Name of District Court, and/or Judge/Magistrate Location (City) Address:

UNITED STATES DISTRICT CoURT EASTERN
DISTRICT OF LOUISIANA Divisional Office
Michael Chen

Name and Office of Person

T.A MAG. ?

Furnishing Information on KxJu.s. Atty [other U.S. Agency

[ Interpreter Required Dialect:

THIS FORM Phone No, (504) 680-3123
Name of Asst. Charles D. St
U.S. Attomey aries VW. otrauss .
(if assigned) Birth 1963 [Z] Male [_] Alien
Date , .
PROCEEDING LI Female (if applicable)
Name of Complainant Agency, or Person (& Title, if any) XXK XX XXxX
Jared B. Miller, ATF Special Agent Social Security Number
CJ person is awaiting trial in another Federal or State Court
(give name of court) DEFENDANT
Issue: Warrant LJ Summons

this person/proceeding transferred from another district
per (circle one) FRCrP 20, 21 or 40. Show District

O

Location Status:

this is a reprosecution of charges
previously dismissed which were
dismissed on motion of:

CO U.S. Atty oO Defense

O

SHOW

[-] this prosecution relates to a DOCKET NO.

pending case involving this same
defendant. (Notice of Related
Case must still be filed with the

Arrest Date or Date Transferred to Federal Custody

CL) Currently in Federal Custody

CJ Currently in State Custody
[1] writ Required

Oo Currently on bond

CO Fugitive

Clerk.)

prior proceedings or appearance(s)
before U.S. Magistrate Judge
regarding this defendant were
recorded under

MAG. JUDGE
CASE NO.

O

Defense Counsel (if any):

C]Fpp [J] cA [|] RETD

Place of
offense |

Waggaman, Louisisana

County Jefferson Parish

C) Appointed on Target Letter

[| This report amends AO 257 previously submitted

OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

1

Total # of Counts (for this defendant only)
tavel (1, 3,4) went’ & Section/ or = 3/ Felony = 4) Description of Offense Charged Count(s)
4 126 U.S.C. § 5841, 5861(d), and 5871|Possession of an Unregistered Silencer

